     Case 2:18-cv-05187-CJB-KWR
          Case 2:18-cv-05187 Document
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                                          Filed 05/23/18
                                                Filed 06/20/18
                                                          Page 1Page
                                                                 of 1 1 of 1



                                                                                              14 May 2018

RE: Notice I Received in My Door this Evening

Ms. Kim Mamerto,

I currently in the process of getting the animal approved through a reasonable accommodation request.
The animal in question is an Emotional Support Animal, prescribed by my current LCSW Jeffery
Friedman.

I spoke with Sherri Roane and a member of your legal team on Thursday May 10. At the end of the
conversation I was told I would be contacted by someone to come fill out additional paperwork.

Due to an unforeseen decline in my mental stability, which I outlined in my email to Sherri Roane today I
did move the dog in over the weekend. As I have explained to Ms. Roane, I am not attempting to
circumvent your rules. I do suffer from mental disabilities which greatly affect my ability to function in
day to day life.

Please see documents I have included with this letter which include: ESA Letter from Jeffery Friedman,
LCSW, Contact information for Jeffery Friedman, LCSW, email correspondence with Sherri Roane.

Please see Ms. Roane for the additional documents proving that I have been treated by a psychiatrist
since 2014.



As I have told Ms. Roane in my email dated today: I am seeking legal advice, as I feel I have been unfairly
treated in this matter.



Regards,

Dory Turnipseed

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